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AO 121 (Rev. 06/16)
TO:

                   Register of Copyrights                                                              REPORT ON THE
                    U.S. Copyright Office                                                      FILING OR DETERMINATION OF AN
                 101 Independence Ave. S.E.                                                           ACTION OR APPEAL
                 Washington, D.C. 20559-6000                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        ✔ ACTION
        G                      G APPEAL                                   Western District of Erie- 17 S. Park Row #A150, Erie, PA 16501
DOCKET NO.                          DATE FILED
                                              10/2/2019
PLAINTIFF                                                                             DEFENDANT
Adlife Marketing & Communications Company, Inc.                                       Valesky’s, Inc. and AdPost Graphics Media Marketing,
                                                                                      Inc.



       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1 VA0002035055

2 VA0002047017

3

4

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

1

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3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                            DATE



                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
                         mail copy to Register of Copyrights         mail copy to Register of Copyrights                  mail copy to Register of Copyrights
DISTRIBUTION:
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